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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

___________________________________
WILLIAM SMITH,                      :
                                    :                  Civ. No. 13-6770 (RBK) (KMW)
            Plaintiff,              :
                                    :                  OPINION
      v.                            :
                                    :
UNITED STATES OF AMERICA, et al., :
                                    :
            Defendants.             :
___________________________________ :

ROBERT B. KUGLER, U.S.D.J.

       Plaintiff is a federal inmate at F.C.I. Fort Dix, in Fort Dix, New Jersey. He brings this

pro se civil rights action pursuant to Bivens v. Six Unknown Named Agents of Fed. Bureau of

Narcotics, 403 U.S. 388 (1971). The Clerk will not file a civil complaint unless the person

seeking relief pays the entire applicable filing fee in advance or the person applies for and is

granted in forma pauperis status pursuant to 28 U.S.C. § 1915. See Local Civil R. 5.1(f). The

filing fee for a civil complaint is $400.00 ($350.00 if the plaintiff is proceeding in forma

pauperis). While the Clerk has received the complaint, the complaint has not been filed as

Plaintiff has not paid the filing fee nor has Plaintiff been granted in forma pauperis status.

       A prisoner bringing a civil action in forma pauperis must submit an affidavit, including a

statement of all assets, which states that the prisoner is unable to pay the applicable filing fee.

See 28 U.S.C. § 1915(a)(1). The prisoner must also submit a certified copy of his inmate trust

fund account statement for the six-month period immediately preceding the filing of his

complaint. See id. § 1915(a)(2). The prisoner must obtain this statement from the appropriate

official of each prison at which he was or is confined. See id.; see also Local Civil R. 81.2(b)

(“Whenever a Federal, State, or local prisoner submits a civil rights complaint . . . the prisoner


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shall also submit an affidavit setting forth information which establishes that the prisoner is

unable to pay the fees and costs of the proceedings and shall further submit a certification signed

by an authorized officer of the institution certifying (1) the amount presently on deposit in the

prisoner’s prison account and, (2) the greatest amount on deposit in the prisoner’s prison account

during the six-month period prior to the date of the certification.”). In this case, Plaintiff has

neither pre-paid the filing fee nor submitted an application to proceed in forma pauperis.

        Even if a prisoner is granted in forma pauperis status, he must pay the full amount of the

filing fee. See 28 U.S.C. § 1915(b)(1). In each month that the amount in the prisoner’s account

exceeds $10.00, until the $350.00 filing fee is paid, the agency having custody of the prisoner

shall assess, deduct from the prisoner’s account, and forward to the Clerk of the Court, payment

equal to 20 % of the preceding month’s income credited to the prisoner’s account. See id. §

1915(b)(2).

        Plaintiff may not have known when he submitted his complaint that he must pay the

filing fee, and that even if the full filing fee, or any part of it, has been paid, the Court must

dismiss the case if it finds that the action is: (1) frivolous or malicious; (2) fails to state a claim

upon which relief may be granted; or (3) seeks monetary relief against a defendant who is

immune from such relief. See id. § 1915(e)(2)(B); see also id. § 1915A(b).

        If the Plaintiff has, on three or more prior occasions while incarcerated, brought an action

or appeal in a court that was dismissed on any of the grounds listed above, he cannot bring

another action in forma pauperis unless he is in imminent danger of serious physical injury. See

id. § 1915(g).

        As Plaintiff has neither paid the filing fee nor submitted an application to proceed in

forma pauperis, the Clerk will be ordered to administratively close the case. However, Plaintiff



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shall be given an opportunity reopen this action by either paying the filing fee or submitting a

complete in forma pauperis application.




DATED: November 20, 2013
                                                     s/Robert B. Kugler
                                                     ROBERT B. KUGLER
                                                     United States District Judge




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